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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, REV. CLEE
 EARNEST LOWE, DR. ALICE
 WASHINGTON, STEVEN HARRIS, BLACK
 VOTERS MATTER CAPACITY BUILDING
 INSTITUTE, and THE LOUISIANA STATE
 CONFERENCE OF THE NAACP,

                               Plaintiffs,             Civil Action No. 3:22-cv-00178
                                                       SDD-SDJ
 v.

 NANCY LANDRY, in her official capacity as
 Secretary of State of Louisiana,

                               Defendant.


                 PLAINTIFFS’ MEMORANDUM IN SUPPORT OF
            MOTION TO SET SCHEDULE FOR REMEDIAL PROCEEDINGS

       Pursuant to Local Civil Rule 7 and the Court’s February 8, 2023 Order, Plaintiffs—Dr.

Dorothy Nairne, Rev. Clee Earnest Lowe, Dr. Alice Washington, Steven Harris, Black Voters

Matter Capacity Building Institute, and Louisiana State Conference of the NAACP—respectfully

move this Court to enter the proposed scheduling order attached as Exhibit 1 as the schedule for

the remedial phase of this case. Plaintiffs’ proposed schedule provides the state with a reasonable

period of time to pass new maps, while moving at a pace that is expeditious enough to facilitate

special elections in the new state legislative districts in November 2024.

                                        BACKGROUND

       On February 8, 2024, the Court permanently enjoined elections under S.B. 1 and H.B. 14

for violations of Section 2 of the Voting Rights Act. ECF No. 233. The Court ordered that the

state shall have “a reasonable period of time” to “address the Court’s findings and implement State

House and Senate election maps that that comply with § 2 of the Voting Rights Act,” and specified
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that the Court would determine the “period of time” that the State would be afforded “following

submittals by the parties.” Id. at 91.

       Plaintiffs provided a copy of their proposed scheduling order to Defendants’ counsel on

February 9, 2024 and requested Defendants’ comments. Plaintiffs’ counsel also offered to meet

and confer with Defendants’ counsel.         Counsel for the Intervenor-Defendants, the State of

Louisiana, indicated in their response that they were opposed to Plaintiffs’ request for special

elections and were not able to discuss the schedule moving forward at this time. Counsel for the

remaining Defendants have not yet responded to Plaintiffs’ request for proposed edits to the

scheduling order or the request for to meet and confer. Plaintiffs file their motion to set a schedule

for the remedial proceedings now without waiting for further response from Defendants because

this matter must move on to the remedial phrase immediately to ensure that Plaintiffs’ rights are

protected.

                                            ARGUMENT

       As part of their scheduling submission, Plaintiffs are moving for special elections to occur

at the same time as the 2024 Federal Elections already scheduled in Louisiana. Plaintiffs’ motion

for special elections, which will be filed tomorrow, and Plaintiffs’ proposed schedule, which is

attached as Exhibit 1, reflect that time is of the essence. It is vital to Plaintiffs’ fundamental right

to vote that this case move forward to the remedial stage as quickly as possible, in order to permit

Plaintiffs’ rights to be vindicated this year rather than needlessly denied for another four years. As

such, Plaintiffs respectfully request that the Court enter the scheduling order attached as Exhibit

1.

       If this Court grants Plaintiffs’ motion for special election, then speedy implementation of

legally compliant House and Senate maps must follow to provide Defendants with time to




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administer an election this fall. Defendants have represented that any new map must be in place

by late May to allow for elections in November 2024. See Robinson v. Ardoin, 86 F.4th 574, 584

(5th Cir. 2023) (“[Counsel] additionally suggested a May 30 deadline for a new map to be drawn,

approved, and enacted for the 2024 elections.”). Plaintiffs’ proposed deadline for the Legislature

to enact a plan properly balances the need to defer to the Legislature by providing it with the first

attempt at a remedy while ensuring the dilutive effect found by this Court does not continue for

years to come.

       Plaintiffs’ proposed schedule provides the Legislature a reasonable period of time to pass

new maps—specifically, it provides the Legislature until March 15, 2024 to adopt remedial maps.

The Legislature convenes for an extraordinary session from February 19 to March 6, and the

General Session runs from March 11, 2024 to June 3, 2024. La. Legislature, Session Information

for the 2024 Second Extraordinary Session, available at https://perma.cc/SWP6-EVG6 (last

visited Feb. 12, 2024); La. Legislature, Session Information for the 2024 Regular Session,

available at https://perma.cc/YH2Q-WKPT (last visited Feb. 12, 2024).            With this already

scheduled legislative session time, the March 15 deadline would give the Legislature nearly three

full session weeks and 35 total days from this Court’s decision (issued on February 8, ECF 233)

to pass alternative maps that comply with the Court’s order.

        Plaintiffs’ proposed date gives the Legislature more than enough time to craft a remedy

compliant with the Voting Rights Act. The Legislature can and indeed did adopt a new voting

district map this very year with only five days of session time. See La. Legislature, SB8, available

at https://perma.cc/MHT4-ZH4U (last visited Feb. 12, 2024). The First Extraordinary Session of

2024 started on Monday, January 15, 2024. Id. A new congressional districting map, S.B. 8, was

passed by both the Senate and House on January 19, 2024. Id. And that map was signed into law




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by the Governor on January 22, 2024. Id. Plaintiffs’ proposed schedule provides significantly

more time than was needed earlier this year, and thus provides the Legislature with an “adequate

opportunity” to pass new maps “in a timely fashion,” while preserving this Court’s ability to order

a remedy that would “permit the holding of elections . . . without great difficulty” in the event that

the State fails to pass new maps that comply with the Voting Rights Act and this Court’s order.

Reynolds v. Sims, 377 U.S. 533, 586 (1964) (holding that judicial relief becomes appropriate when

a legislature fails to reapportion after having had an opportunity to do so).

       Plaintiffs’ proposed schedule would afford the Legislature 35 days to enact maps,

compliant with this Court’s February 8, 2024 order. This schedule balances the Court’s duty to

give the Legislature a full opportunity to enact legal maps while ensuring that Plaintiffs do not

suffer from vote dilution any longer than necessary.



Date: February 12, 2024                           Respectfully submitted,


                                                  /s/ Megan C. Keenan               .
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